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                                                                                   FILED
                                                                                 U.S. DISTRICT COURT
                                                                             EASTERN DiSTRiCT ARKANSAS



                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS JAMES
                                                                        By:_-lJ..lL-l~-lf-\fr~::i'"'1:'Cw
UNITED STATES OF AMERICA                         )
                                                 )      No. 4:12CR00213 KGB
vs.                                              )
                                                 )      21 U.S.C. §§ 841(a)(1),
JASON D. PHILLIPS; CANON DIANE                   )      841(b)(1)(A)
HALL; TERRY JOE DOSHIER;                         )      21 u.s.c. § 846
JIMMY J. WHEELER; and, ROBIN                     )      18 U.S.C. §§ 922(g)(1), 924(c)
NELSON-FLANAGAN                                  )      18 u.s.c. § 1001
                                                 )      18 U.S.C. § 3013(a)(2)

                            SUPERSEDING INDICTMENT

        THE GRAND JURY CHARGES THAT:

                                        COUNT 1

        In or about January 2012, through in or about December 2012, in the Eastern

District of Arkansas, the defendants,

JASON D. PHILLIPS; CANON DIANE HALL; TERRY JOE DOSHIER; JIMMY
            J. WHEELER; and, ROBIN NELSON-FLANAGAN

knowingly and intentionally conspired and agreed with each other, and with persons

known and unknown to the Grand Jury, to distribute more than 500 grams of a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, in violation ofTitle 21, United States Code, Sections 841(a)(l) and

841 (b )(1 )(A).

        All in violation ofTitle 21, United States Code, Section 846.

                                        COUNT2

        In or about January 2012, through in or about December 2012, in the Eastern

District of Arkansas, the defendant,
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                                TERRY JOE DOSHIER

knowingly and intentionally distributed more than 500 grams of a mixture and substance

containing a detectable amount of methamphetamine, a Schedule II controlled substance,

in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A).

                                        COUNT3

       In or about March 2012, through in or about October 20 12, in the Eastern District of

Arkansas, the defendant,

                                TERRY JOE DOSHIER

knowingly and during and in relation to a drug trafficking crime, used and carried a

firearm, a Companhia Brasiliera de Cartuchos (CBC) 12 gauge shotgun bearing serial

number C996920, in violation of Title 18, United States Code, Sections 924( c).

                                        COUNT4

       In or about January 2012, through in or about December 2012, in the Eastern

District of Arkansas, the defendant,

                                 JIMMY J. WHEELER

knowingly and intentionally distributed more than 500 grams of a mixture and substance

containing a detectable amount of methamphetamine, a Schedule II controlled substance,

in violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A).



                                        COUNTS

      In or about January 2012, through in or about December 2012, in the Eastern

District of Arkansas, the defendant,

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                             ROBIN NELSON-FLANAGAN

knowingly and intentionally possessed with intent to distribute more than 500 grams of a

mixture and substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 84l(a)(1) and

841(b)(l)(A).

                                         COUNT6

      In or about January 2012, through in or about December 2012, in the Eastern

District of Arkansas, the defendant,

                                   JASON D. PHILLIPS

knowingly and intentionally distributed to more than 500 grams of a mixture and substance

containing a detectable amount of methamphetamine, a Schedule II controlled substance,

in violation ofTitle 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A).

                                         COUNT7

       A.       That prior to May 22, 2012, in the Eastern District of Arkansas, the

defendant,

                                   JASON D. PHILLIPS

had previously been convicted as follows:

       1.       In Faulkner County Circuit Court, of Aggravated Assault and Fleeing.

       B.       That each of the crimes set forth in paragraph A above was punishable by a

term of imprisonment exceeding one year.

       C.       That on or about May 22, 2012, in the Eastern District of Arkansas,

                                   JASON D. PHILLIPS

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did knowingly possess a firearm in or affecting commerce, to wit, a Hi-Point 9mm caliber

pistol, thereby violating Title 18, United States Code, Sections 922(g)(1).

                                        COUNT 8

       A.      That prior to May 22, 2012, in the Eastern District of Arkansas, the

defendant,

                                  JASON D. PHILLIPS

had previously been convicted as follows:

       1.      In Faulkner County Circuit Court, of Aggravated Assault and Fleeing.

       B.      That each of the crimes set forth in paragraph A above was punishable by a

term of imprisonment exceeding one year.

       C.      That on or about May 22, 2012, in the Eastern District of Arkansas,

                                  JASON D. PHILLIPS

did knowingly possess ammunition in or affecting commerce, to wit, Federal brand 9mm

caliber ammunition, thereby violating Title 18, United States Code, Sections 922(g)(1).

                                        COUNT9

       On or about May 22, 2012, in the Eastern District of Arkansas, the defendant,

                                  JASON D. PHILLIPS

knowingly and during and in relation to a drug trafficking crime, used and carried, that is,

discharged, a firearm, in violation ofTitle 18, United States Code, Sections 924(c).

                                       COUNT 10

       That on or about the 22d day of June, 2012, in the Eastern District of Arkansas, the

defendant,

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                                 CANON DIANE HALL

did willfully and knowingly make and cause to be made materially false, fictitious, and

fraudulent statements and representations in a matter within the jurisdiction of a

department or agency of the United States by denying to a Special Agent of the Federal

Bureau oflnvestigations that she was present at 21 Nanny Goat Lane, Vilonia, Arkansas on

May 22,2012, when JASON D. PHILLIPS discharged a firearm. The statements and

representations were false because, as CANON DIANE HALL then and there knew, she

accompanied JASON D. PHILLIPS and another unnamed individual to that address on that

date when, and in furtherance of JASON D. PHILLIPS' efforts to collect a drug debt,

JASON D. PHILLIPS discharged a firearm into a vehicle belonging to a resident living at

the address, all in violation of Title 18, United States Code, Section 1001.




                            [End of Text. Signature page attached.]




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